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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

FORCE MOS TECHNOLOGY CO., LTD.,                         §
                                                        §
                 Plaintiff,
                                                        §
v.                                                      §      CIVIL ACTION NO. 2:22-CV-00460-JRG
ASUSTEK COMPUTER, INC.,                                 §
                                                        §
                 Defendant.                             §


                                                    ORDER

         Before the Court is Defendant’s Unopposed Motion to Change Lead Counsel (the

“Motion”) filed by Defendant ASUSTeK Computer, Inc. (“Defendant”). (Dkt. No. 328.) In the

Motion, Defendant requests that the Court allow Charles M. McMahon of the law firm Benesch
    .
Friedlander Coplan & Aronoff LLP to be substituted as Lead Counsel for Defendant instead of

Mr. Li Chen. (Id. at 1.) Defendant states that “[d]ue to other commitments, Mr. Chen is unable to

attend trial on January 13, 2025.” (Id.) The Motion is unopposed. (Id. at 1, 4.)

         Since Defendant filed the Motion, the trial setting in this case has been continued to January

27, 2025. Mr. Chen’s unidentified “other commitments” therefore should not be impediments to

him serving as Lead Counsel during the new trial setting. Accordingly, the Motion is DENIED. 1

        So ORDERED and SIGNED this 16th day of January, 2025.




                                                                   ____________________________________
                                                                   RODNEY GILSTRAP
                                                                   UNITED STATES DISTRICT JUDGE

1
 The Court further notes that Defendant filed this Motion on January 6, 2025—one week before the January 13,
2025 trial setting. However, trial had been set for January 13, 2025 since November 4, 2024. Defendant provides no
explanation for why it waited over two months to file this Motion, nor does Defendant even attempt to explain how
Mr. Chen’s “other commitments” are more important than serving as Lead Counsel in this case. Should the same
impediments continue to exist as to the January 27, 2025 setting, Defendant may re-urge a similar type motion,
hopefully with more specificity.
